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                        Exhibit B
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to issue currency and maintain payment ledgers 4-in other words, there is no central bank.
Instead, cryptocurrencies rely on complex algorithms, a distributed ledger that is often referred to
as the "blockchain," and a network ofpeer-to-peer 5 users to maintain an accurate system of
payments and receipts. Some examples of cryptocurrencies include Bitcoin, Litecoin, and Ether.
[Exhibit 179, pp. 14-15]

(U) According to the website of Crypto.com, "like crypto coins, crypto tokens are designed using
blockchain technology; however, crypto tokens aren't native to a blockchain. Instead, they're
built on top of it, often utilizing smart contracts 6 to fulfil a variety of purposes. While crypto
coins mimic traditional currencies, crypto tokens are more like assets or even deeds. A crypto
token can represent a share of ownership in a Decentralized Autonomous Organization (DAO), 7
a digital product or non-fungible token (NFT), 8 or even a physical object. Crypto tokens can be
bought, sold, and traded like coins, but they aren't used as a medium of exchange. To use a real-
world example, crypto tokens are more like coupons or vouchers, while crypto coins are like
dollars and cents. There are numerous types of crypto tokens: Some governance tokens offer
holders voting rights in a DAO. Certain tokens, known as "utility tokens" may provide access to
certain services or products developed by the token issuer. Most crypto tokens are designed to
be used within a blockchain project or decentralized app (or "dapp"). 9 Unlike crypto coins,
tokens are created and distributed by the project developer for the particular intended purpose or
use of those tokens. Once tokens are in the hands of purchasers, they can be used in accordance
with their design. For example, Axie Infinity, one of the best-known play-to-earn (P2E) [games]
on the market, features a utility token called Smooth Love Potions (SLP). By earning or
purchasing SLP, players can perform exclusive in-game tasks." [Exhibit 89, p. 4]

(U) According to the Cyber-Digital Task Force Report, cryptocurrency can be exchanged
directly person to person; through a cryptocurrency exchange; or through other intermediaries.
The storage of cryptocurrency is typically associated with an individual "wallet," which is
similar to a virtual account. Wallets can interface with blockchains and generate and/or store the
public keys (which are roughly akin to a bank account number) and private keys (which function
like a PIN or password) that are used to send and receive cryptocurrency. [Exhibit 179, p. 15]




4
   (U) According to an October 2018 NIST report, a ledger is a record of transactions. [Exhibit 130, p. 63]
5
   (U) According to a May 17, 2022, Cointelegraph article, accessed on October 1, 2022, peer-to-peer (P2P) trading is
 a type of cryptocurrency exchange method that allows traders to trade directly with one another without the need for
 a centralized third party to facilitate the transactions. [Exhibit 152, p. 2] According to Cointelegraph's website,
 Cointelegraph was founded in 2013 and is the leading independent digital media resource covering a wide range of
 news on blockchain technology, crypto assets, and emerging fintech trends. [Exhibit 23, p. l]
 6
   (U) Smart contracts are further explained in Section IV.A.2 (Virtual Cu"encies: Ethereum) below.
 7
   (U) According to the "Decentralized Autonomous Organizations" page of Ethereum' s website,
-a                  DAO is a Decentralized Autonomous Organization which is member-owned commumty wt out
~ership.                  [Exhibit 157, p. l] DAOs will be explained in detail in Section IV.B.2 (TORNADOCASH:
 Decentralized Autonomous Organization (DAO)) below.
 8
   (U) According to a Cointelegraph article, nonfungible tokens, or NFTs, are verifiably unique representations of
 digital and physical goods. Each NFT generally differs in makeup, and therefore likely differs in value as
 well. [Exhibit 115, p. l]
 9
   (U) Decentralized Apps are further described in Section IV.A.2 (Virtual Cu"encies: Ethereum) section below.
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(U) TORNADO CASH is controlled by a DAO, which is comprised of members who have
obtained TORN 46 tokens. TORN tokens provide members of the DAO with ownership stake in a
fashion similar to stockholders; the more TORN tokens a member has, the more voting power
they have. Developers of TORNADO CASH research and develop new features to
TORNADO CASH and post them on websites such as GitHub for members of the DAO to
propose to the collective members of the DAO for implementation. If a vote to implement
passes, the DAO implements the new features in a process called Trusted Setup Ceremony. The
DAO is the central controlling mechanism of TORNADO CASH.

                     a. (U) The TORN Token

(U) TORNADO CASH governance is accomplished through the DAO, which is ma4e up of
individuals who have been issued TORN tokens. According to a September 6, 2021 blog post on
the website of Medium, 47 authored by TORNADO CASH, which has since been deleted by the
author, and which was accessed by OFAC through the Wayback Machine's August 8, 2022
archive, the blog post describes the TORNADO CASH decision making processes, which
combines both on-chain 48 and off-chain 49 governance:

        "Governance is at the heart of every decentralized protocol and Tornado Cash does not
        deviate from this rule. By principle, for a decentralized protocol to function correctly, the
        decision-making process needs to be put between the hands of its users. Those users
        form a community that has the right & duty to shape the next versions of the tool they
        use. Usually, this community has the means to express itself through governance tokens.
        In other words, if the protocol was the community's battlefield, governance would be its
        weapon & tokens its ammunition. For the DAO to run smoothly, governance rules need
        to be clearly specified and cover all potential areas. We just need to take a look at
        political voting systems around the world to assert that decision making rules have a
        tremendous impact on the final made decision. On-chain governance offers the
        community (i.e., TORN holders) the means to implement the desired changes to their
        protocol. If the community agrees on adding or changing a given feature, the update will
        only be implemented if the on-chain governance rules are complied with. All those
        changes must go through proposals. Those proposals can be suggested to Tornado Cash
        users & TORN holders directly on https://app.tornado.cash/governance [the Tornado
        Cash Website], by any eligible community [i.e., DAO] member." [Exhibit 70, pp. 2-4]



46
   (U) According to an August 13, 2022 Bitcoin.com article, TORN is the Tornado Cash governance token with a
fixed supply, and which may be used to propose changes to Tornado Cash and its governance, and vote on such
changes. There are approximately 1,511,065 TORN tokens, with 30 percent reserved for the developers and
contributors. [Exhibit 34, p. 1]
47
   (U) According to the "About" page of its website, accessed on April 22, 2022, Medium is an open platform where
over 100 million readers come to find insightful and dynamic thinking, where expert and undiscovered voices alike
dive into the heart of any topic. [Exhibit 41, p. 1]
48
   (U) Accm;ding to an October 2018 NIST report, "on-chain" refers to data that is stored or a process that is
implemented and executed within a blockchain system. [Exhibit 189, p. 82]
49
   (U) According to an October 2018 NIST report, "off-chain" refers to data that is stored or a process that is
implemented and executed outside of any blockchain system. [Exhibit 189, p. 82]
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community. The protocol also functions with zk-SNARK, which enables zero-knowledge proofs
allowing users to demonstrate possession of information without needing to reveal it. The use of
this technology is based on open-source research made by Zcash team with the help of the
Ethereum community. To set up zk-SNARK initial keys, Tornado.Cash was launched in May
2020 & accounts for 1,114 contributions. This significant number of contributors makes it
impossible to compromise the protocol by faking zero-knowledge proofs." [Exhibit 120, p. 4]

(U) According to the website of TORNADO CASH, its UI is "hosted on IPFS (Inter Planetary
File System) by the community, minimizing risks of data deletion. Indeed, the interface will
work as long as at least one user is hosting it." [Exhibit 120, p. 4]

(U) According to the website of TORNADO CASH, "behind the Tornado.cash front-end sits a
number of Circom circuits, which enable the fundamental privacy guarantees that Tornado.cash
users enjoy. These circuits implement the Zero Knowledge protocol that Tornado.cash's smart
contracts interface with to prove claims about a user's deposit, such as that it is valid, that is has
not already been withdrawn, and in the context of Anonymity Mining, the number of blocks that
exist between a note's deposit transaction and its withdrawal. Tornado.cash is best understood as
having two separate major components. The core deposit circuit is what most users interact
with, proving that a user has created a commitment representing the deposit of some
corresponding asset denomination, that they have not yet withdrawn that asset, and that they
know the secret that they supplied when generating the initial commitment. The anonymity
mining circuits form the basis for the _AnonymityMining program, which incentivizes users to
leave their deposits in the contract for longer periods of time, so as to ensure that the
Tornado.cash deposit pools maintain a large number of active deposits (thus increasing k-
anonymity 107 for other users)." [Exhibit 132, pp. 1, 3--4]

                 2.   (U) The Tornado Cash Mixing Service: How the Tornado Cash Smart
                      Contracts Enable Mixing

(U) As will be described below, smart contracts, including those deployed by TORNADO
CASH, are programs running on the Ethereum blockchain. However, as noted by Coin Center,
the smart contracts simply execute "deposit" and "withdrawal" operations. In and of themselves,
these operations do not create a mixing service that effectively anonymizes transactions;
TORNADO CASH also relies on a critical mass of users concurrently depositing and
withdrawing transactions to obfuscate links between deposit and withdrawal addresses. As
described by TORNADO CASH in its January 3, 2020 Medium post, user anonymity depends
on the total amount of deposits made to a given smart contract as well as the behavior of other
users.




107
    (U) According to an April 14, 2021 article by Immuta, the concept ofk-anonymity was introduced into
information security and privacy back in 1998. It's built on the idea that by combining sets of data with similar
attributes, identifying information about any one of the individuals contributing to that data can be obscured.
k-Anonymization is often referred to as the power of"hiding in the crowd." Individuals' data is pooled in a larger
group, meaning information in the group could correspond to any single member, thus masking the identity of the
individual or individuals in question. [Exhibit 197, p. 2]
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(U) According to the August 25, 2022, post on the website of Coin Center, "Tornado Cash pools
are smart contracts that enable users to transact privately on Ethereum. When prompted by a
user, pools will automatically 108 carry out one of two supported operations: "deposit" or
"withdraw." Together, these operations allow a user to deposit tokens from one address and later
withdraw those same tokens 109 to a different address. Crucially, even though these deposit and
withdrawal events occur publicly on Ethereum's transparent ledger, any public link between the
deposit and withdrawal addresses is severed. The user can withdraw and use their funds without
fear of exposing their entire financial history to third parties. A key principle of Tornado Cash
pools is that a user's privacy is derived in large part from the simultaneous usage of the pool by
many other users. If the pool had only a single user, it wouldn't matter that the link between the
user's deposit and withdrawal addresses was severed: simple inference would make it obvious
where the withdrawn tokens came from. Instead, pools are used by many users simultaneously.
Think of it like a bank's safe deposit box room. Anyone can go and store valuables in a locked
box in that room, and, assuming the locks are good, only the person with the key can ever get
those valuables back. Security aside, however, this may or may not be privacy enhancing. If
only one person is ever seen going into and out of the room, then we know any valuables in that
room are theirs. If, on the other hand, many people frequently go into and out of the room, then
we have no way of knowing who controls which valuables in which boxes."
[Exhibit 62, pp. 6--7]

(U) According to a January 3, 2020 Medium post by "Tornado Cash," "although external
observers cannot prove which withdrawal comes from which deposit, they can make an educated
guess about it. For example:
    • If a deposit and a withdrawal are right next to each other, it is very likely that they belong
       to the same person. We recommend waiting until at least a few deposits are made after
       yours before withdrawing the note.
    • If there is a batch of deposits from one address, and then a batch of the same size of
       withdrawals to a single address, they are very likely connected. If you need to make
       multiple withdrawals, try to spread them out and withdraw to addresses not linked with
       each other.
    • Wait until some time has passed after your deposit. Even if there are multiple deposits
       after yours, they all might be made by the same person that is trying to spam deposits and
       make users falsely believe that there is large anonymity set when in fact it is lower (also
       known as a Sybil attack). We recommend waiting at least 24 hours to make sure that

108
    (UHFOUO) Although Coin Center describes this process as "automatic," OFAC assesses that this description is a
simplification: as with other transactions on the Ethereum blockchain, the user must broadcast a request for the
transaction to be executed on the Ethereum Virtual Machine, and a validator must select the transaction, execute it,
and propagate the resulting state change to the rest of the network. This process is described in greater detail in
Section IV.A.2 (Virtual Currencies: Ethereum) above.
109
    (U/i!FOUO)OFAC assesses that Coin Center describes users as withdrawing the "same tokens" based on the fact
that TORNADO CASH provides a non-custodial mixing service. However, this is incorrect in a crucial respect.
As detailed in Exhibit 189, tokens on the Ethereum blockchain are represented as account balances assigned to
addresses. Consequently, any deposit to a smart contract deployed by TORNADO CASH on the Ethereum
blockchain is effected by simply updating the aggregate balance of funds associated with that smart contract.
Although the user retains custody of their funds in the sense that they alone have the authority to withdraw or
transfer the value they deposited, their funds are commingled with assets deposited by other users of the mixing
service provided by TORNADO CASH."
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          there were deposits made by multiple people during that time. Check the instance
          statistics when using it.
      •   It may also be possible that making deposits or withdrawals only during waking hours of
          the time zone you are in can reduce your anonymicy. A simple way to avoid this problem
          is to try your best to spread out your deposits and withdrawals as evenly across the 24
          hours of each day.
      •   The anonymity set reflected in Tornado Cash statistics is a total amount of deposits made
          to a given instance. In practice, it can be lower due to various off-chain factors that are
          hard to formalize. For example, someone might make a Twitter post about their private
          transaction - it effectively means that it can be excluded from the anonymity set.
          Similarly in all other cases when a user deanonymizes himself, his deposit is not
          contributing any real anonymity. As such, it is in your interest, as well as the interest of
          all Tornado Cash users, to not publicize the amount that you deposit or the dates and
          times at which you do so (especially for withdrawals).
      •   In general, try to avoid any correlations that may suggest that your deposits and
          withdrawals are linked. A good rule of thumb is to mingle with the crowd."
           [Exhibit 60, p..2]

(U) According to an August 10, 2022 CoinDesk article, "Tornado Cash was important not just
because it worked (in theory) but because it was trusted, keys burned," Gabagool 110 told
CoinDesk. Gabagool is referring to the destruction of the cryptographic keys needed to kick-
start privacy-protecting applications, including messaging tools like PGP or blockchains like
Manero. This procedure, sometimes called "key shredding," ensures that no one has access to
the cryptographic keys needed to decrypt anonymized messages or transactions. Because it
typically happens at the early stages of a project, sometimes before there are any users, you often
simply have to have faith that this was done and that there are no "backdoors" for bypassing the
encryption. Thus, just because an alternate Tornado Cash may be running the same code does
not mean you can trust it. This would be all the more complicated considering there will likely
be many Tornado Cashes that spring up, causing some market confusion. Further, because
Tornado Cash is operated by tumbling transactions, the liquidity of the program had a direct
bearing on whether it could successfully scramble 111 the blockchain. If there were multiple
Tornado Cashes, and no one could agree which was the "safe" one to use, they would all be less
effective. Or in Gabagool' s words, it is likely people will redeploy the code, "but it's not a true
solve." [Exhibit 57, pp. 4-5]



110
    (U) According to an August 15, 2022 article on the website of The Crypto Times, Twitter handle Gabagool.eth's
owner is a coder by profession who has also earned online popularity as an on-chain investigator exposing scams
and frauds. On August 4, 2022, the trading and liquidity platform Velodrome Finance recovered $350,000 stolen in
a hack from a team member. The team member was identified using the alias Gabagool. Gabagool affirmed the act
and owned up to it. He revealed that Velodrome had committed the mistake of giving its private key to five team
members, including him. After losing money during the crypto bear market, Gabagool withdrew $350,000 in
various cryptos which he converted to Ether and sent to Tornado Cash to recover his personal loss.
[Exhibit 56, p. 2]
lll (U) This exhibit is discussing Tornado Cash's tumbling (also known as mixing) services, OFAC assesses that to
"Scramble the blockchain" means the process of obfuscating transactions between users of mixing services to make
it difficult to trace funds from sender to receiver.
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(U,'/FOUO) Based on the information presented in Exhibits 57, 60, and 62, OFAC assesses that
TORNADO CASH provides mixing services to its users not only by facilitating transactions
through its smart contracts, but also by cultivating a broad user base that facilitates the
anonymity of Tornado Cash transactions. Therefore, OFAC assesses that that TORNADO
CASH provided mixing services to LAZARUS GROUP* by providing effective mixing services
that allowed LAZARUS GROUP* to obfuscate its transactions. Section V (BASES FOR
DETERMINATIONS) below further describes this activity by LAZARUS GROUP*.

               3.   (U) The Tornado Cash Mixing Service: Anonymity Mining

(U) As described in detail below, "anonymity mining" was a year-long promotion by
TORNADO CASH which rewarded users with TORN tokens based on the amount of time they
left their deposits in the TORNADO CASH smart contract pools.

(U) According to the website of TORNADO CASH, accessed through the Wayback Machine's
August 5, 2022 archive, until December 2021, the protocol included an anonymity mining
system for some of these tokens, allowing its users to earn a governance token (TORN). Users
were able to ultimately earn TORN on the Blockchain network by depositing in the ETH, DAI,
cDAI & WBTC pools. [Exhibit 120, p. 3]

(U) According to the website of TORNADO CASH, accessed through the Wayback Machine's
June 17, 2022 archive, "anonymity mining is an incentive to increase the level of privacy in any
coin-joining or coin-mixing protocols by rewarding participants anonymity points (AP)
dependent on how long they hedge their assets in a pool. The Tornado Cash anonymity mining
program began on December 18, 2020 and ended on December 18, 2021. Individuals deposited
to any one of the anonymity pools that were supported (ETH, WBTC, DAI or cDAI) and were
rewarded a fixed amount of AP per block, over the period their deposit remained in the pool.
These points could then be exchanged for TORN once claimed. One of the community members
created the resource of a mining spreadsheet that helped calculate APY s for each pool and each
denomination set within, through estimating the fees required to claim a reward. The Tornado
Cash website highly recommended to view this resource and plan one's course of action before
expecting to earn yield, and recommended that users always plan when deciding to mine any of
the anonymity sets, to be aware that the AP/TORN rate is dependent on supply and demand,
therefore, the more people that claim [AP/TORN] the higher the rate becomes, and the less
people that claim the lower it becomes." [Exhibit 138, pp. 1, 7]

               4. (U) The Tornado Cash Mixing Service: The Relayer Network

(U,l/FOUO)As described in detail below, a network of relayers provides a supplemental
anonymizing service for Tornado Cash users withdrawing funds from Tornado Cash pools. In
essence, users can pay a third-party (a "relayer") to withdraw funds from the pool on their behalf.
TORNADO CASH provides this service by maintaining a registry of available relayers, which
is deployed to a smart contract. The relayer network also enables the collection of fees from
Tornado Cash users, who pay a portion oftheir_withdrawal transaction to the relayer. In turn, the
relayers must pay TORNADO CASH in TORN to be listed in the relayer registry. As with the
other components of TORNADO CASH, relayers rely on the coordination, governance, and

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structure of the broader TORNADO CASH entity for their ability to function as relayers.
Therefore, while an individual relayer is arguably an independent operator, OFAC assesses that
the ability of Tornado Cash users to execute relayer-facilitated transactions is a functionality
provided by the TORNADO CASH entity.

(U//FOUO) According to data from Dune, 112 out of a total of 145,448 withdrawal transactions
from TORNADO CASH, 121,702113 used relayers and 23,746 were withdrawn to wallets.
[Exhibit 8, p. 1]

                  a. (U) The Relayer Network: How Relayers Work

(U) According to an August 25, 2022 Coin Center article; "relayers" are independent operators
that provide an optional service for Tornado Cash users. By default, when users prompt the
Tornado Cash pool contracts for withdrawal, the withdrawal account needs to already have Ether
to pay the Ethereum network to process the smart contract's operations. However, sending Ether
to the withdrawal account prior to withdrawal might create a link between the user's deposit and
wi.thdrawal accounts. Relayers allow users to process withdrawals without needing to pre-fund
their withdrawal accounts, which helps users maintain privacy when withdrawing. Users select a
relay er from a public Relayer Registry. The user then uses their withdrawal account to sign a
transaction authorizing the relayer-assisted withdrawal. The user sends this transaction to their
selected relayer, who processes the withdrawal on their behalf, earning a fee in the process.
According to the Coin Center article, even though they process withdrawals on behalf of users,
relayers "never have custody 114 over users' tokens; the smart contract ensures that withdrawn
tokens are only ever sent to the user's withdrawal account." [Exhibit 62, pp 15-16]

(U) According to the website of TORNADO CASH, accessed through the Wayback Machine's
June 9, 2022 archive, "relayers form an essential and necessary part of the Tornado Cash
ecosystem. Their use guarantees privacy as they solve the infamous "fee payment dilemma":
how to pay fees for token withdrawals from a pool while maintaining anonymity? Therefore,
relayers act as third parties and manage the entire withdrawal. They pay for transaction fees by
deducting them directly from the transferred amount. They also charge an additional fee for their
services." [Exhibit 139, p. 1]

(U) According to the website of TORNADO CASH, accessed through the Wayback Machine's
June 9, 2022 archive, "a relayer is chosen by the user interface using the following formula:
    • The list of all registered relayers is retrieved from the Relayer Registry smart contract.


112
    (U) According to its website, "Dune is a powerful tool for blockchain research. Dune gives you all the tools to
query, extract, and visualize vast amounts of data from the blockchain. Dune is unlocking the power of public
blockchain data by making it accessible to everyone." [Exhibit 79, p. 1]
113
    (Uh'¥0UO) This figure represents 83 .67 percent of the total withdrawal transactions.
114
    (U) In this context, "custody" has a technical meaning with respect to cryptocurrency. According to the website
of CoinDesk, cryptocurrency is essentially a bearer asset, as the person who holds the private keys to a wallet
effectively controls (owns) the coins inside. Custodial wallets are wallet services offered by a centralized business
such as a cryptocurrency exchange. When a user outsources wallet custody to a business, they are essentially
outsourcing their private keys to that institution. Non-custodial wallets do not require the outsourcing of trust to an
institution, so no institution can refuse to complete transactions. [Exhibit 97, pp. 2-3]
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    •   For each relayer, calculate a score based on its staked TORN and its fee. The higher the
        stake, the higher the score is; the higher the fee, the lower the score is. For Ethereum
        mainnet, the formula used to calculate the score is stake* [1 - 25*(fee-0.33)"2]; for
        sidechains, the formula is stake* [1 - 11.89*(fee-0.01)"2].
    •   Then randomly pick a relayer, weighted by its calculated score." [Exhibit 139, pp. 1-2]

(U) The website of TORNADO CASH, accessed through the Wayback Machine's June 9, 2022
archive, provides instructions to "anyone [wishing to] become a relayer for the protocol in 6
simple steps through a Relayer Registry User Interface.

    1. Warning: Understand & Accept Potential Risks. Before you commit to sharing part of
       your journey with Tornado Cash users as a relayer, you need to understand & accept all
       potential risks of being a relayer for the protocol.
    2. The first concrete step is to run the Tornado Cash Relayer software for Ethereum Mainnet
       on your computer. All steps are outlined in the protocol's github. To complete this task
       successfully, you will have to carefully follow these instructions. Once completed, you
       will need to insert your url in the input box. It is strongly recommended that you use
       your own RPC nodes. 115
    3. Set up Ethereum Name Service (ENS) 116 Subdomain. The next steps entail: creating an
       ENS domain for your relayer; setting up its mainnet subdomain; adding a TXT record
       with the Relayer URL to the mainnet subdomain. You also have the option to add
       subdomains with their corresponding TXT records to support chains other than Ethereum.
       Sidechains relayers use a different version of the Relayer software. Tornado Cash Nova
       uses its own version of the software.
    4. Workers are the addresses that will allow your relayer to send ZK-proofs to users. By
       default, the first worker is the ENS domain owner's address.
    5. With the implementation of a decentralized relayer registry, a staking condition has been
       introduced as a requirement to become listed on Tornado Cash UI. Keep in mind staking
       TORN is now necessary to be added to the recommended list of relayers. The minimum
       staked amount is currently set by Tornado Cash governance at 300 TORN. This
       threshold can be changed by Tornado Cash governance at any time. When a relayer is
       used in the Tornado Cash pool, a small amount of TORN is automatically collected from
       this staked balance by the Staking Reward contract. This element is essential to keep in
       mind as relayers will need to keep enough TORN locked (~40 TORN in April 2022) to
       be able to pay back the transaction fee to the staking contract. The collected fees are
       subsequently distributed among DAO members with locked TORN tokens. TORN are
       usually locked to participate in on-chain governance (submitting & voting on proposals).
       Your staked TORN amount is not claimable, and it is non-refundable.
    6. Summary: Final Verification & Registration." [Exhibit 139, pp. 1-6]

115
    (U) According to the website of Coinbase, a Remote Procedure Call or RPC node is a type of computer server
that allows users to read data on the blockchain and send transactions to different networks. [Exhibit 140, p. I]
116
    (U) According to a May 12, 2022 BeinCrypto Article, ENS refers to Ethereum Name Service, and is a naming
protocol that allows humans to use easy-to-remember domain names for their cryptocurrency addresses. The
protocol then translates it to a machine-readable address. This process has many similarities to the DNS system we
use for the internet. Furthermore, it empowers users with a tool that can unify their online presence and help them
step into the realm ofweb3. [Exhibit 184, p. I]
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(U) According to TORNADO CASH's website, accessed through the Wayback Machine's
February 18, 2022 archive, "relayers are used to withdraw to an account with no ETH balance.
The relay er sends a withdrawal transaction and takes a part of the deposit as compensation
(though the protocol itself does not collect any fees). The relayer cannot change any withdrawal
data including recipient address. The Tornado Cash initial developers do not control or play any
role in relaying transactions; the relay network is independent and run by the community."
[Exhibit 64, p. 7]

(U//FOUO) Although relayers independently set their fees, and the relayer fees are paid directly
to the relayers, TORNADO ~ASH separately collects a per-transaction fee in TORN from
relayers. This mechanism is explained in further detail in the remainder of this section and in the
next section.

(U//FOUO) According-to an August 25, 2022 Coin Center article, the relayer registry is the
smart contract 0x58E8dCC13BE9780fC42E8723D8EaD4CF46943dF2 ("0x58E8d"). According
to Coin Center, the relayer registry can be updated pending a Tornado Cash community vote.
[Exhibit 62, p. 24] Because the smart contract can be updated by the Tornado Cash
community, 117 OFAC assesses that TORNADO CASH has the ability to thereby manage the
relay er registry.

(U//FOUO) According to Etherscan, smart contract 0x58E8d has a total of 722 transactions. The
most recent transaction to smart contract 0x58E8d occurred on September 20, 2022 and executed
the function "stake to relayer." [Exhibit 96, p. 1] Based on the substantial number of
transactions, OFAC assesses that Tornado Cash relayers regularly stake to the relayer smart
contract or otherwise interact with the relayer smart contract.

(U) According to the website of TORNADO CASH, which was archived by the Internet
Archive on June 9, 2022, following the execution of Tornado Cash tenth governance proposal,
anyone can become a relayer for Tornado Cash users. The only condition to be included on the
Tornado Cash ill is to lock a min[imum] of 300 TORN. 118 To remain listed, it is needed to keep
enough TORN locked (~ 40 TORN in April 2022) to be able to pay back the transaction fee to
the staking contract. Since the implementation of the Relayer Registry proposal, the protocol
collects a fee directly from the relayer' s staked balance through the "Staking Reward" contract
for each withdrawal. This fee percentage may vary from one pool to another and is also subject
to change through on-chain governance. Currently 119 it is fixed at 0.3 percent. Some pools
remain without fees, either because the instance is too small to assign a fee (0.1 ETH, 100




117
    (U) OFAC assesses the term "community" as used in this and other exhibits includes, but is not limited to,
holders of TORN and developers of Tornado Cash.
118
    (U) According to a note in the exhibit, this minimum stake can be changed by a governance vote at any time.
[Exhibit 139, p. 1]
119
    (UJ/FOUO) OFAC assesses that this information was current as of the date it was archived, June 9, 2022.
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